     Case 2:12-cr-00016-WFN   ECF No. 241   filed 06/29/12   PageID.708 Page 1 of 1




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 3
                           UNITED STATES DISTRICT COURT
 4                        EASTERN DISTRICT OF WASHINGTON
 5
       UNITED STATES OF AMERICA,              )
 6                                            )     No. CR-12-016-WFN-7
                        Plaintiff,            )
 7                                            )     ORDER DENYING DEFENDANT’S
       v.                                     )     MOTION FOR RECONSIDERATION
 8                                            )     OF CONDITIONS OF RELEASE
       TYLER S. McKINLEY,                     )
 9                                            )
                        Defendant.            )
10                                            )

11          IT IS ORDERED Defendant’s request to stop random UAs, to use

12    alcohol, and to possess firearms (ECF No. 229) is DENIED.

13          DATED June 29, 2012.

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15                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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      ORDER DENYING DEFENDANT’S MOTION FOR
      RECONSIDERATION OF CONDITIONS OF RELEASE -             1
